Case 1:03-md-01570-GBD-SN   Document 9919-1   Filed 06/17/24   Page 1 of 3




                     EXHIBIT A
Case 1:03-md-01570-GBD-SN   Document 9919-1   Filed 06/17/24   Page 2 of 3
                               Case 1:03-md-01570-GBD-SN                    Document 9919-1             Filed 06/17/24       Page 3 of 3



RELEVANT FILINGS
For each member case, list docket entries for the corresponding filings. Duplicate this page if additional space is needed.

       Member Case &                       Notices of Amendment                  Alternative Service          Affidavit of     Certificate of           Liability
      Operative Complaint                     & Substitutions                          Order                    Service          Default               Judgment
                                    *list entries relevant to moving plaintiffs* *complete if applicable*                                       *leave blank if requesting
                                                                                                                                                liability judgment*

02-cv-07230 (S.D.N.Y) (GBD)(SN)                                                 ECF No. 3015                ECF No. 1238     ECF No. 2510       ECF No. 3021
ECF No. 465 (6th Amended Cmp.)                                                                              (09/16/2005)     (12/22/2011)
